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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )       8:17CB9-SMB
                                         )       Violation Number 6224252 NE6
              vs.                        )
                                         )
LAUREN A. SCHMOKE,                       )       ORDER
                                         )
                     Defendant.          )


       On the motion of the United States Attorney’s Office, the above-referenced matter is

hereby dismissed without prejudice.

       ORDERED this 30th day of October, 2017.


                                          BY THE COURT:


                                          s/ Susan M. Bazis
                                          United States Magistrate Judge
